    Case: 1:23-cv-04282 Document #: 10 Filed: 07/10/23 Page 1 of 6 PageID #:201




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 JUN LU,

                       Plaintiff,                  Civil Action No. 1:23-cv-04282

                v.                                 Judge John J. Tharp, Jr

 DEVICE X and DREAMALL,

                       Defendants.


                          TEMPORARY RESTRAINING ORDER

       Plaintiff Jun Lu filed an Ex Parte Motion for Entry of a Temporary Restraining Order,

including a Temporary Injunction, a Temporary Asset Restraint, Expedited Discovery and Service

of Process by Email and Electronic Publication, (the “Motion”) against the fully interactive, e-

commerce stores operating under the seller aliases “Device X” and “DreaMall” (together,

“Defendants”). After reviewing the Motion and the accompanying record, this Court GRANTS

Jun Lu’s Motion in part as follows.

       This Court finds, in the absence of adversarial presentation, that Jun Lu has provided a

basis to conclude that Defendants have sold products that infringe directly and/or indirectly Jun

Lu’s United States design patent (the “Doorknob Design”) shown below.

 PATENT NO.                                CLAIM                                    ISSUE DATE
  D981,205       Ornamental design for an electronic door knob, as shown and         3/21/2023
                                         described.




                                               1
     Case: 1:23-cv-04282 Document #: 10 Filed: 07/10/23 Page 2 of 6 PageID #:202




       This Court also finds that issuing this Order without notice pursuant to Rule 65(b)(1) of

the Federal Rules of Civil Procedure is appropriate because Jun Lu has presented specific facts in

the Declaration of Jun Lu in support of the Motion and accompanying evidence clearly showing

that immediate and irreparable injury, loss, or damage will result to the movant before the adverse

party can be heard in opposition. Specifically, in the absence of an ex parte Order, Defendants

could and likely would move any assets from accounts in financial institutions under this Court’s

jurisdiction to offshore accounts. Accordingly, this Court orders that:

1.     Defendants, their officers, agents, servants, employees, attorneys, and all persons acting

       for, with, by, through, under, or in active concert with them be temporarily enjoined and

       restrained from:

       a. offering for sale, selling, and importing any products not authorized by Jun Lu,

           including any reproduction, copy, or colorable imitation of the Doorknob Design;

       b. aiding, abetting, contributing to, or otherwise assisting anyone in infringing upon the

           Doorknob Design; and

       c. effecting assignments or transfers, forming new entities or associations, or utilizing any

           other device for the purpose of circumventing or otherwise avoiding the prohibitions

           set forth in Subparagraphs (a) and (b).




                                                 2
     Case: 1:23-cv-04282 Document #: 10 Filed: 07/10/23 Page 3 of 6 PageID #:203




2.     Defendants shall not transfer or dispose of any money or other of Defendants’ assets in any

       of Defendants’ financial accounts.

3.     Jun Lu is authorized to issue expedited written discovery to Defendants, pursuant to

       Federal Rules of Civil Procedure 33, 34, and 36, related to:

       a. the identities and locations of Defendants, their officers, agents, servants, employees,

          attorneys, and any persons acting in active concert or participation with them, including

          all known contact information and all associated e-mail addresses;

       b. the nature of Defendants’ operations and all associated sales, methods of payment for

          services, and financial information, including, without limitation, identifying

          information associated with the Online Marketplaces and Defendants’ financial

          accounts and Defendants’ sales and listing history related to their respective Online

          Marketplaces; and

       c. any financial accounts owned or controlled by Defendants, including their officers,

          agents, servants, employees, attorneys, and any persons acting in active concert or

          participation with them, including such accounts residing with or under the control of

          any banks, savings and loan associations, payment processors or other financial

          institutions, including, without limitation, PayPal, Inc. (“PayPal”), Alipay,

          ContextLogic Inc. d/b/a Wish.com (“Wish.com”), Alibaba Group Holding Ltd.

          (“Alibaba”), Ant Financial Services Group (“Ant Financial”), Amazon Pay, or other

          merchant account providers, payment providers, third party processors, and credit card

          associations (e.g., MasterCard and VISA).

4.     Upon Jun Lu’s request, any third party with actual notice of this Order who is providing

       services for any of the Defendants, or in connection with any of Defendants’ Online



                                                3
     Case: 1:23-cv-04282 Document #: 10 Filed: 07/10/23 Page 4 of 6 PageID #:204




       Marketplaces, including, without limitation, any online marketplace platforms such as

       eBay, Inc., AliExpress, Alibaba, Amazon.com, Inc., Wish.com, and Dhgate (collectively,

       the “Third Party Providers”), shall, within seven (7) calendar days after receipt of such

       notice, provide to Jun Lu expedited discovery, limited to copies of documents and records

       in such person’s or entity’s possession or control sufficient to determine:

       a. the identities and locations of Defendants, their officers, agents, servants, employees,

          attorneys, and any persons acting in active concert or participation with them, including

          all known contact information and all associated e-mail addresses;

       b. the nature of Defendants’ operations and all associated sales, methods of payment for

          services, and financial information, including, without limitation, identifying

          information associated with the Online Marketplaces and Defendants’ financial

          accounts and Defendants’ sales and listing history related to their respective Online

          Marketplaces; and

       c. any financial accounts owned or controlled by Defendants, including their officers,

          agents, servants, employees, attorneys, and any persons acting in active concert or

          participation with them, including such accounts residing with or under the control of

          any banks, savings and loan associations, payment processors or other financial

          institutions, including, without limitation, PayPal, Alipay, Wish.com, Alibaba, Ant

          Financial, Amazon Pay, or other merchant account providers, payment providers, third

          party processors, and credit card associations (e.g., MasterCard and VISA).

5.     Upon Jun Lu’s request, those with notice of this Order, including the Third Party Providers

       as defined in Paragraph 4, shall within seven (7) calendar days after receipt of such notice,




                                                4
     Case: 1:23-cv-04282 Document #: 10 Filed: 07/10/23 Page 5 of 6 PageID #:205




       disable and cease displaying any advertisements used by or associated with Defendants in

       connection with the sale of counterfeit and infringing goods using the Doorknob Design.

6.     Any Third Party Providers, including PayPal, Alipay, Alibaba, Ant Financial, Wish.com,

       and Amazon Pay, shall, within seven (7) calendar days of receipt of this Order:

       a. locate all accounts and funds connected to Defendants’ seller aliases, including, but not

          limited to, any financial accounts connected to and any e-mail addresses provided for

          Defendants by third parties; and

       b. restrain and enjoin any such accounts or funds from transferring or disposing of any

          money or other of Defendants’ assets until further order by this Court.

7.     Jun Lu may provide notice of the proceedings in this case to Defendants, including notice

       of the preliminary injunction hearing, service of process pursuant to Fed. R. Civ. P. 4(f)(3),

       and any future motions, by electronically publishing a link to the Complaint, this Order,

       and other relevant documents on a website and by sending an e-mail with a link to said

       website to any e-mail addresses provided for Defendants by third parties. The Clerk of the

       Court is directed to issue a single original summons in the name of “Device X and

       DreaMall” that shall apply to all Defendants. The combination of providing notice via

       electronic publication and e-mail, along with any notice that Defendants receive from

       payment processors, shall constitute notice reasonably calculated under all circumstances

       to apprise Defendants of the pendency of the action and afford them the opportunity to

       present their objections.

8.     Jun Lu must provide notice to Defendants of any motion for preliminary injunction as

       required by Rule 65(a)(1).




                                                 5
      Case: 1:23-cv-04282 Document #: 10 Filed: 07/10/23 Page 6 of 6 PageID #:206




9.      Within seven (7) calendar days of entry of this Order, Jun Lu shall deposit with the Court

        two thousand dollars ($2,000.00) ($1,000 per defendant), either cash or surety bond, as

        security, which amount has, in the absence of adversarial testing, been deemed adequate

        for the payment of such damages as any person may be entitled to recover as a result of a

        wrongful restraint hereunder.

10.     Any Defendants that are subject to this Order may appear and move to dissolve or modify

        the Order as permitted by and in compliance with the Federal Rules of Civil Procedure and

        the Northern District of Illinois Local Rules. Any third party impacted by this Order may

        move for appropriate relief.

11.     This Temporary Restraining Order without notice is entered at 4 P.M. on this 10th day of

        July 2023 and shall remain in effect for fourteen (14) calendar days. Any motion to extend

        this Order must be filed by 7/20/2023.




                                                          John J. Tharp, Jr.
                                                          United States District Judge




                                                 6
